        Case 3:18-cr-00095-SRU Document 51 Filed 10/29/18 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                              DISTRICT ON CONNECTICUT

 UNITED STATES
                                                   3:18-CR-00095(SRU)
 v.

 YEHUDI MANZANO                                    OCTOBER 27,2018

                             DEFENDANT'S FRE 412 NOTICE

        The federal government proceeds in this action by way of an indictment returned

 on May 3, 2018, charging Mr. Manzano with production of child pomography in violation

 of 18 U.S.C. Section 2251(a) and transportation of child pornography in violation of 18

 U,S.C. Section 2252A(a)(1). This is a prosecution arising out of a pending state

prosecution of Mr. Manzano. In the state prosecution, Mr. Manzano is charged with

second degree sexual assault, a form of statutory rape as the complaining witness in

this case was fifteen years old, below the age of consent, when she engaged in

voluntary sexual intercourse with the defendant. The state seeks to punish Mr. Manzano

for having sex with a minor; the federal government seeks to punish Mr. Manzano for an

isolated filming of one encounter on his cellphone. There is no evidence that Mr.

Manzano ever distributed the film or that it was ever seen by anyone other than himself

before the item was discovered in a search of his cell phone by state officials. He faces

a two-year mandatory minimum for the state charge, and a fifteen-year mandatory

minimum on the federal production charge .

       In its motion in limine dated October 23, 2018, the government represented that

it intends to offer limited evidence of the accuser's sexual relationship with the

defendant, apparently offering a videotape of a voluntary sexual encounter retrieved

from the defendant's phone. The defendant claims surprise by this. The government

                                             1
        Case 3:18-cr-00095-SRU Document 51 Filed 10/29/18 Page 2 of 4




 also moves to preclude the use of any other sexual behavior or predisposition under

 Federal Rules of Evidence 412, on grounds that the defendant has not provided notice

 of his intent to rely on such evidence.

        If the government offers evidence that the encounter it intends to over was not

 coerced or otherwise a product of undue influence, the defendant contends that this is

 the functional equivalent of consent, and, therefore, the course of the relationship

 between the parties is admissible under FRE 412(b)(1 )(C). If the government does not

 open the door to consent evidence by way its questioning, the defendant will seek to

 offer evidence of the course of the couple's relationship on two theories: first, the the

defendant and his accuser were involved in a year-long intimate relationship in which

the accuser lied about her age, and second, that the accuser expected the defendant to

leave his wife for her, and , only when it was apparent that he was not going to do so did

she reveal her age to him and to his wife , in an effort to break up the marriage . She then

threatened to go to law enforcement unless the defendant paid her money.

       The defendant provides notice, as required under Federal Rules of Evidence

412, of his intent to offer the evidence under Rule 412(b)(1)(8) and (C): first, the

prosecution will offer evidence opening the door to consent if it does what is says it

plans to do in its pleadings by offering brief testimony about the lack of coercion;

second , the defendant intends to offer evidence in support of his theory of reasonable

mistake as to age, claiming it is part of his Sixth Amendment right to present a defense

       The defendant has in his possession a series of screenshots of various social

media postings by the accuser, appearing under the name M.M., and several other

pseudonyms . He does not intent to offer them in his case in chief. Rather, he will use

them in cross-examination of the accuser ..
                                              2
       Case 3:18-cr-00095-SRU Document 51 Filed 10/29/18 Page 3 of 4




        1. The accuser told that defendant that she was previously married and had

           children by her former husband. This is offered to show a reasonable mistake

           as to age on the defendant's behalf.

       2. The defendant and accuser had sexual relations approximately six times per

           week in the year leading up to the break-up of the relationship,    This is

           offered to show the length of the relationship, the justified expectations of the

           accuser that the defendant was, in fact, seriously contemplating leaving his

          wife for her, and as a foundation for the accuser's angry efforts to extort him.

       3. The accuser tried to break up the defendant's marriage by disclosing to the

          defendant's wife the location of a sexual encounter in the home of the

          defendant's mother. (Upon information and belief, this is the same incident

          that was videotaped , but the undersigned is not certain this is the case .) This

          will be offered to show the accuser's bias, motive and interest in the outcome

          of the litigation.

      The defendant does not intend to offer evidence of other sexual activity with

other men or to offer graphic testimony about the nature of the sexual activities between

the accuser and the defendant unless the accuser opens the door to such testimony.

                                                  THE DEFENDANT



                                                 By   /S/ NORM PATTIS /S/
                                                        NORMAN A. PATTIS
                                                        383 Orange Street, Front
                                                        New Haven, Ct 06511
                                                        203.393.3017
                                                        203.393.9745 (fax)
                                                        ct 13120
                                                        npattis@pattislaw.com


                                            3
       Case 3:18-cr-00095-SRU Document 51 Filed 10/29/18 Page 4 of 4




                                      CERTIFICATION

          This is to certify that on October 27, 2018, a copy of the foregoing was filed
electronically. Notice of this filing will be sent, via e-mail, to all parties by operation of
the Court's electronic filing system, and the undersigned did cause to be sent, via First
Class U.S. mail, postage prepaid, a copy of the foregoing to all counsel and pro se
parties that do not have access to the Court's electronic filing system and to whom the
court directs the undersigned to send a hard copy via mail. Parties may access this
filing through the Court's system .

                                 /s/ NORMAN A. PATTIS /s




                                              4
